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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 ARBUTUS BIOPHARMA CORPOATION                    )
 and GENEVANT SCIENCES GMBH,                     )
                                                 )
                          Plaintiffs,            )
                                                 )
                v.                               ) C.A. No. 22-252 (MSG)
                                                 )
 MODERNA, INC. and MODERNATX, INC.               )
                                                 )
                          Defendants.            )

                     STIPULATION AND ORDER TO EXTEND TIME

       IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the approval of

the Court, that the time for the Defendants to answer the Complaint shall be extended to November

30, 2022.

SHAW KELLER LLP                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP

/s/ Nathan R. Hoeschen                            /s/ Brian P. Egan
_____________________________________
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Attorney for Plaintiffs




                SO ORDERED this 16th day of November, 2022.


                                              /s/ Mitchell S. Goldberg
                                              UNITED STATES DISTRICT JUDGE
